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Allison Holubis

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
woe nc een cnw neem nnn nnmenne a ane x Docket No.: 18-CV-3007 (JS)

 

(GRB)
JOSEPH JACKSON,
Plaintiff,
-against- : COUNTY DEFENDANTS’
PRIVILEGE LOG

NASSAU COUNTY; THE INCORPORATED VILLAGE :
OF FREEPORT; DETECTIVE ROBERT DEMPSEY;
DETECTIVE GARY ABBONDANDELO; DETECTIVE :
JOHN M. HOLLAND; DETECTIVE MICAHEL HERTS; :
DETECTIVE MARTIN ALGER; DETECTIVE
ANTHONY SORRENTINO; DETECTIVE DAVID L.
ZIMMER; POLICE OFFICER MELENDEZ;
LIEUTENANT BURDETTE; SERGEANT McHALE;
SERGEANT NOLL; DETECTIVE SHARKEY; POLICE
OFFICER DOWDELL; POLICE OFFICER BARRY
McGOVERN; DETECTIVE TURNER; DETECTIVE
EDWARD HAGGERTY; POLICE OFFICER HALL;
DETECTIVE LAURETTE KEMP; DETECTIVE
WILLIAM TWEEDY; DETECTIVE ANTHONY
KOSIER; DETECTIVE SERGEANT DAN SEVERIN;
DETECTIVE JERL MULLEN; THE ESTATE OF
DETECTIVE JERL MULLEN; JOHN DOE, AS THE
ADMINISTRATOR OF THE ESTATE OF JERL
MULLEN; and JOHN and JANE DOE 1 through 20,

Defendants.
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Bates Author | Recipient Document Privilege
2843- Sheryl File File Memo containing legal Attorney
2853 Anania, Esq. analysis of investigation of Work-Product
- prosecution of Joseph Jackson
2899 Sheryl File Cover page from File Memo Attorney
Anania, Esq. containing legal analysis of Work-Product
investigation of prosecution of
jo Joseph Jackson
3043 Tammy J. | Sheryl e-mail containing analysis re: Det. | Attorney
Smiley, Esq. | Anania Robert Dempsey Work-Product
3156 Sheryl | Mike e-mail exchange December 4, 2017 | Attorney
Anania, Esq. | Walsh re: Bob Dempsey and Gary Work Product
_| Abbondandelo
3157 Sheryl File Handwritten notes re: Attorney
Anania, Esq. communication with Gary Work Product
| Abbondandelo __ 7 /
3160- Shery] File File Memo and handwritten notes | Attorney
3162 Anania, Esq. re call with Glen Montes on Work Product
October 19,2017 _
3191- Sheryl File Handwritten notes of investigation | Attorney
3192 Anania, Esq. Work Product
3195— | Caryn File Handwritten notes of recap/review | Attorney
3206 Stepner, Esq. and recent interviews Work Product
3207 Tammy Sheryl Legal strategy Attorney
Smiley, Esq. Anania, Work Product
__|__ Esq. |
3394 Sheryl Anania | File Memo re call with Maurice Larrea | Attorney
L —__| on 10/2/17 Work Product
3395 Sheryl Anania | Sheryl Emails re factual investigation Attorney
Esq./Elizabeth | Anania Work Product
Curcio Esq./Elizab
| eth Curcio
3396 Shery! Joshua Emails re factual investigation Attorney
Anania, Esq. | Genn Work Product
3436- Dan Looney, | Mike Memo re sentencing and Attorney-
3437 Esq. Walsh, Esq. | handwritten note __| Work Product _|
3438- Shery] File Memo re People v. Jackson Attorney
3448 Anania, Esq. | Work Product
3861- Shery] File Handwritten and typewritten notes | Attorney
3864 Anania, Esq. | and memo re Peddie Jackson Work Product
4102- NYS n/a Criminal History info re Roy
4107 Isaacs, Jr., printed November 14,
2017
4108 Sheryl File Memo re meeting with Roy Isaacs, | Attorney
Anania, Esq. Jr. Work Product

 

 

 

 

 

 

 
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_Bates | Author Recipient | Document Privilege
411] | Sheryl File Memo re phone interview with Attorney
= _Anania, Esq. Skwanitra Witherspoon —_| Work Product
4112- | Sheryl Sheryl Exchange of e-mails re: locating Attorney
4116, Anania, , Esq. | Anania, Skwanitra Witherspoon Work Product
4119 Joshua Glenn, | Joshua
Elizabeth Glenn,
Curcio Elizabeth
_ Curcio _
4120- Sheryl File Memo and handwritten notes re Attorney
4124 Anania, Esq. phone interview with Skwanitra Work Product
/ Witherspoon sl
4141- Paul Devore Sheryl Exchange of e-mails re: locating Attorney
4142 Anania, Roy Isaacs and Tyrone Isaacs Work Product
Esq.
4161- NYS | n/a Criminal History info re: Tyrone
4172 Jackson, printed November 14,
2017
Dated: White Plains, New York

June 20, 2019

 

 

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Our File No. 12473.00014
